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              IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF INDIANA
                        HAMMOND DIVISION
LANCE FOSTER,                       )
                                    )
Petitioner,                         )
                                    )
vs.                                 )         No. 2:09-CV-415
                                    )             (2:04-CR-80)
UNITED STATES OF AMERICA,           )
                                    )
Respondent.                         )



                            OPINION AND ORDER

      This matter is before the Court on the Motion Under 28 USC §

2255 to Vacate, Set Aside, or Correct Sentence by a Person in

Federal Custody, filed by Petitioner on December 14, 2009. For the

reasons set forth below, the motion REMAINS UNDER ADVISEMENT and

the matter is set for HEARING ON April 15, 2011, at 1:00 p.m.



BACKGROUND

      In 2004, Lance Foster (“Foster”) was indicted as part of a

multi-defendant    drug   conspiracy.      The     Superceding       Indictment

charged Foster with conspiracy to possess with intent to distribute

crack cocaine, cocaine and marijuana (Count 2), and distribution of

cocaine base (Count 7).

      On February 22, 2005, a Plea Agreement was filed with the

Court indicating that Foster would plead guilty to Count 2 of the

Superceding Indictment (the conspiracy charge).             The signed plea

agreement    indicated    that   Foster   understood     that    the    maximum
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possible    penalty    for    the    offense      included     a   life     term    of

imprisonment.     The plea agreement further provided that Foster

understood that the minimum possible penalty to be imposed included

a term of imprisonment of ten years.

     The change of plea hearing was scheduled, but the hearing was

continued many times.          Ultimately, on April 27, 2005, Foster

indicated he wished to withdraw his plea agreement, and this Court

allowed Foster to withdraw his plea agreement.                 Another change of

plea hearing was scheduled for February 2, 2006, at which it

appears Foster planned to plead guilty without the benefit of a

plea agreement. But, when that date came, Foster again decided not

to go forward with the change of plea hearing. Trial was scheduled

for October 30, 2006.

     On    October    20,    2006,   just     ten   days     before       trial,   the

Government filed an Information Regarding Prior Conviction Pursuant

to 21 U.S.C. section 851(a).                 The information relied upon a

December   14,   1999,      conviction       in   Lake   County,     Indiana,      for

possession of cocaine to seek increased punishment in the event of

Foster’s conviction. As a result, Foster’s sentencing range became

a minimum of 20 years and a maximum of life.              Foster proceeded with

a jury trial, and was convicted of distributing cocaine base (Count

7), but found not guilty of the conspiracy charge (Count 2).

     Foster was sentenced to a 240 month term of incarceration, the

statutory mandatory minimum for his offense as the result of the


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Government’s filing of the section 851 information.              If Foster had

not been subject to the 20 year mandatory minimum due to the

Government’s filing of the information, his applicable guideline

range under the United States Sentencing Guidelines would have been

135-168   months   (total   offense     level   32   and   criminal      history

category II).      Foster appealed his conviction, and the Seventh

Circuit affirmed the judgment against Foster.               United States v.

Tanner, 544 F.3d 793 (7th Cir. 2008).

     In March of 2009, Foster sought a reduction in his sentence

due to amendments in the United States Sentencing Guidelines

governing crack cocaine, pursuant to 18 U.S.C. section 3582.

Foster’s trial counsel was reappointed to assist with this matter,

but after investigating Foster’s claimed entitlement to a reduced

sentence, sought leave to withdraw because he believed that the 20

year mandatory minimum sentence prevented a reduction in Foster’s

sentence.   Foster’s counsel was permitted to withdraw, and Foster

was given leave to file a pro se motion for modification of his

sentence, which he did not do.

     Eventually, Foster initiated this pro se action seeking to

vacate his sentence, alleging that his trial counsel provided

ineffective assistance of counsel.          The Government responded on

January 15, 2010, claiming that Foster’s motion was untimely.

Foster filed a reply brief on February 11, 2010.                      This Court

disagreed with the Government’s position regarding the timeliness


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of Foster’s motion, and ordered the Government to provide a brief

addressing the merits of Foster’s habeas petition.            The Government

provided the requested brief on May 24, 2010. Foster filed a reply

to the Government’s response on the merits on June 23, 2010.                  In

October, Attorney Cheryl Sturm appeared on behalf of Foster, and

was granted leave to file a supplemental reply on Foster’s behalf.

The supplemental reply was filed on November 12, 2010. The instant

motion is now fully briefed.



DISCUSSION

     In his motion, Petitioner raises several claims of ineffective

assistance of counsel, although there is significant overlap among

the claims. First, Foster claims that his attorney was ineffective

in that he should have known that Foster could receive an enhanced

sentence due to his prior juvenile drug conviction before trial

began, and that counsel was ineffective in making no effort to

secure evidence needed to argue that such an enhancement was

unconstitutional.      Next,   Foster      argues   that    his   counsel    was

ineffective in failing to seek and/or secure a plea agreement once

the Government had provided notice of its intent to seek an

enhanced sentence under 21 U.S.C. section 851.             Foster also claims

that his counsel was ineffective in failing to investigate Foster’s

bad acts.    Lastly, Foster claims his counsel was ineffective for

failing to argue that his sentence over-represented his criminal


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history. Although presented as many claims, the primary contention

of the motion is this: Foster claims that if he knew that he was

subject to a mandatory minimum sentence of twenty years due to his

prior conviction, he would have pled guilty, and that his counsel

was ineffective in both failing to advise him of that possibility,

and failing to argue that such a sentence was not warranted.



Habeas Corpus Relief

     Habeas corpus relief under 28 U.S.C. section 2255 is reserved

for “extraordinary situations.”        Prewitt v. Untied States, 83 F.3d

812, 816 (7th Cir. 1996).        In order to proceed on a habeas corpus

petition pursuant to 28 U.S.C. section 2255, a federal prisoner

must show that the district court sentenced him in violation of the

Constitution or laws of the United States, or that the sentence was

in excess of the maximum authorized by law, or is otherwise subject

to collateral attack.      Id.

     In assessing Petitioners’s motion, the Court is mindful of the

well-settled     principle    that,     when   interpreting         a     pro    se

petitioner’s complaint or section 2255 motion, district courts have

a “special responsibility” to construe such pleadings liberally.

Donald v. Cook County Sheriff’s Dep’t., 95 F.3d 548, 555 (7th Cir.

1996); Estelle v. Gamble, 429 U.S. 97, 106 (1976)(a “pro se

complaint, ‘however inartfully pleaded’ must be held to ‘less

stringent      standards     than     formal   pleadings        drafted          by


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lawyers’”(quoting Haines v. Kerner, 404 U.S. 519 (1972)); Brown v.

Roe, 279 F.3d 742, 746 (9th Cir. 2002)(“pro se habeas petitioners

are to be afforded ‘the benefit of any doubt’”)(quoting Bretz v.

Kelman, 773 F.2d 1026, 1027 n.1 (9th Cir. 1985)).           In other words:

           The mandated liberal construction afforded to
           pro se pleadings “means that if the court can
           reasonably read the pleadings to state a valid
           claim on which the [petitioner] could prevail,
           it should do so despite the [petitioner’s]
           failure to cite proper legal authority, his
           confusion of various legal theories, his poor
           syntax and sentence construction, or his
           unfamiliarity with pleading requirements.”

Barnett v. Hargett, 174 F.3d 1128, 1133 (10th Cir. 1999)(habeas

petition     from     state     court      conviction)(alterations           in

original)(quoting Hall v. Bellmon, 935 F.2d 1106, 1110 (10th Cir.

1991)).    On the other hand, “a district court should not ‘assume

the role of advocate for the pro se litigant’ and may ‘not rewrite

a petition to include claims that were never presented.’” Id.

Here, even though Foster is now represented by counsel, the Court

has assessed Foster’s claims with those guidelines in mind, as his

initial motion and reply were filed without the aide of counsel.

     This Court begins with Foster’s contention that, if Foster had

known that he was subject to a mandatory minimum sentence of twenty

years due to his prior convictions, he would have pled guilty.

Foster states the following in one of his briefs:

           [Y]es, a plea agreement was offer [sic], but
           the attorney never explained the important
           [sic] of the plea, the attorney never
           explained the advantage or the disadvantages

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              of the plea agreement, and if the attorney had
              explained to me the advantages of the plea
              agreement, there would have been no way I
              would have demanded to go to trial.        The
              advantage of the plea agreement was never
              explained to me, nor were I told that it could
              be in the best interest, because it would be
              eliminating    the   possibilities    of   any
              enhancements that the Government may had on
              its’ [sic] mind to use, and if the Petitioner
              were told that he was facing additional ten
              (10) years, he would have accepted the plea
              agreement without the thoughts of a trial.

[DE 810 at 3].

        As   with   all    allegations         of   constitutionally          ineffective

assistance of counsel, the analysis must begin with the Supreme

Court's seminal case in this area, Strickland v. Washington, 466

U.S. 668 (1984). The test for ineffectiveness claims is exacting.

To   establish      such    a    claim,    a     defendant    must    show      that    his

attorney's representation was deficient, and that the deficiency

prejudiced the defendant.             Wiggins v. Smith, 539 U.S. 510, 521

(2003).       To establish deficient performance, a defendant must

demonstrate that counsel's representation fell below an objective

standard of reasonableness.              Id.     This test is highly deferential

to counsel, "presuming reasonable judgment and declining to second

guess strategic choices."             United States v. Williams, 106 F.3d

1362,    1367   (7th      Cir.   1997)    (citations     omitted).            Thus, when

examining the performance prong of the Strickland test, a court

must "indulg[e] a strong presumption that counsel's conduct falls

within the wide range of reasonable assistance."                              Galowski v.


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Berge, 78 F.3d 1176, 1180 (7th Cir. 1996)(internal quotes omitted).

Then, to establish the prejudice component of the Strickland test,

a defendant must show a reasonable probability that, but for

counsel's unprofessional errors, the result of the proceeding would

have been different.        Wiggins, 539 U.S. at 534.       Such a "reasonable

probability" is "a probability sufficient to undermine confidence

in the outcome."      Id.

     When viewed in the context of counsel's failure to properly

advise     a    defendant    of   his     sentencing    exposure        and,   more

specifically, where an attorney’s alleged incompetence results in

rejection of a plea agreement, the Strickland framework applies as

follows.       With regards to the performance prong of Strickland, a

miscalculation of the possible sentence will not suffice; rather,

the petitioner “must show that counsel did not attempt to learn the

facts of the case and failed to make a good-faith estimate of a

likely sentence.”      VanWaeyenberghe v. United States, No. 3:08-CV-

456 RM; 3:04-CR-87(01)RM, 2009 WL 3294871 (Oct. 13, 2009 N.D.

Ind.)(citing United States v. Cieslowski, 410 F.3d 353, 358-59 (7th

Cir. 2005).       With regards to the prejudice prong of Strickland,

petitioner must “establish (1) through objective evidence that (2)

there is a reasonable probability that he would have accepted the

alleged proposed plea agreement absent defense counsel’s advice.”

Paters v. United States, 159 F.3d 1043, 1046 (7th Cir. 1998)

(citing Toro v. Fairman, 940 F.2d 1065 (7th Cir. 1991)).


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      Foster has alleged, via a sworn statement, that his counsel

did not advise him that the Government could seek an enhancement

based on his prior criminal record such that he would face a

mandatory minimum sentence of 20 years rather than the ten year

minimum he understood he was facing.                 This allegation, if true,

suggests that his counsel did not attempt to learn the facts of the

case and make a good-faith estimate of a likely sentence.                             In

response, the Government provided this Court with a brief that

fails to discuss pertinent case law or thoroughly analyze Foster’s

claim.      Absent     recitations     of      the   law   governing        ineffective

assistance       of   counsel   claims      generally,      a   summation       of   the

Government’s understanding of Foster’s claim, and a summation of

the proceedings in this case, the Government’s brief (the body of

which is just over two pages) contains only the following:

             The defendant has provided no legal basis to
             grant his 2255 motion.      He signed a plea
             agreement and then backed out of taking it in
             court on a number of occasions.            The
             government filed a timely motion regarding
             enhanced penalties, and the defendant went to
             trial and received those enhanced penalties.
             There is nothing whatsoever in the record
             which   indicates    that   Mr.   Kupsis   was
             ineffective in any way, shape or form. As the
             record in the instant case indicates, Mr.
             Foster has no one to blame but himself for his
             twenty year minimum mandatory sentence.

[DE   805   at    2-3].    Foster     has      sufficiently     alleged       that   his

counsel’s    performance        was   deficient,      and    the    Government       has

produced nothing to undermine those allegations.


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      With regards to the prejudice prong of the analysis, Foster

alleges under oath that if he had been advised that he was facing

a possible mandatory minimum sentence of twenty years, he would

have pled guilty.     The cases make clear that this assertion alone

is not enough. See Paters, 159 F.3d at 1046; VanWaeyenberghe, 2009

WL 3294871 at *8.     In Paters, the petitioner submitted affidavits

from his parents in addition to his own affidavit, all supporting

Pater’s allegations regarding the advice he received from counsel,

and that Paters had seriously considered a plea.            The Court noted

the following: “Such evidence is certainly not overwhelming.                And

it does not prove the ultimate question-that there is a reasonable

probability that Paters would have accepted the plea deal but for

his attorney’s advice.       Instead, it only shows that the alleged

advice was in fact offered.”        Paters, 159 F.3d at 1047.

      The Court in Paters then suggested that the petitioner could

have provided more compelling evidence, and as examples of what

would have been more compelling, the Court indicated that an

affidavit from defense counsel regarding Pater’s reaction to the

plea offer or an affidavit from the AUSA establishing that the

government in fact offered a plea agreement would have been more

compelling.     Nonetheless, Paters was granted a hearing, in part

because the Government in Paters had conceded the first prong of

the Strickland analysis.

      Judge Ilana Diamond Rovner wrote a concurring opinion where


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she criticized the objective test, noting that it “effectively

reimposed the preponderance standard that Strickland rejected,

because    it    seems   to   require     something      more      than     standard

testimonial evidence from the party most able to speak to the issue

under consideration.” Id. at 1049 (Rovner, J., concurring). Judge

Rovner also questioned the benefit of receiving an affidavit from

the AUSA affirming that a plea agreement was offered, given that

this fact was not contested.        Id. at 1050.         Judge Coffey, on the

other hand, felt that the showing made by Paters was not only

insufficient to justify a hearing, but so lacking that the district

court erred in requiring the Government to respond to the motion.

Id. at 1050 (Coffey, J. dissenting).

      The splintering of the court in Paters, based on the specific

facts of that case, makes the application of Paters by district

courts challenging.      The Court in Van Waeyenberghe described the

Court’s decision to grant a hearing in Paters as follows: “In

Paters,    the   government    conceded     all   of    petitioner’s         factual

assertions, so his naked assertions were clothed with the mantle of

objectivity.” VanWaeyenberghe, 2009 WL 3294871 at *10. Because no

such concessions or other factual support existed in Waeyenberghe,

the court found that no hearing was necessary.               Id.    Similarly, in

Key v. United States, Paters was distinguished because the state

did not make Key a plea offer.          72 Fed. Appx. 485, 487 (7th Cir.

2003).    In Julian v. Bartley, on the other hand, the Court found “a


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package consisting of testimonial evidence, a history of plea

discussion, and the nature of the misinformation” that was deemed

a sufficient     showing of prejudice.          Julian v. Bartley, 495 F.3d

487, 499-500 (7th Cir. 2007).

      In this case, Foster has tendered his sworn statement that he

would have pled guilty if his counsel had advised him of the

sentence he was facing.             Foster has submitted no additional

evidence, but the Government has not challenged the validity of his

allegations at all.      The Government has not conceded that counsel

was ineffective - but neither have they produced any evidence that

tends to suggest otherwise.           Furthermore, it is clear from the

record that Foster was offered a plea; in fact, the record contains

a signed plea.      That signed plea agreement references a minimum

mandatary sentence of ten years rather than the minimum mandatory

sentence of twenty years that applied following the Government’s

decision to seek an enhancement.             While Foster did not go through

with the change of plea hearing, the record strongly suggests that

he nearly pled even absent knowledge of the alleged erroneous

advice from counsel.       Accordingly, there is a strong suggestion

that, if Foster’s allegations regarding his counsel’s misadvice

were true, he would have went through with the plea agreement.

Under these circumstances, the Court finds that a hearing is

appropriate on Foster’s claims.

      Having found that Foster is entitled to a hearing on his claim


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that counsel was ineffective in advising him of the sentence he was

facing, the Court now turns to Foster’s remaining contentions.

      With   regards    to   Foster’s        claim     that       his   counsel    was

ineffective by failing to secure (or even attempt to secure)

evidence     needed    to    argue    that      such       an     enhancement      was

unconstitutional, Foster’s claim must fail.                     Foster has made no

showing that any such evidence exists.           Therefore, Foster has made

no showing that counsel erred or that he was prejudiced by the

alleged error.     See Wiggins, 539 U.S. at 521-534.

      Foster argues that his counsel was ineffective in failing to

recognize and argue that the underlying conviction relied upon was

unconstituional.      Foster does little to develop this argument, but

notes that he is in the process of trying to have it dismissed and

removed from his record.       Unfortunately for Foster, that is not a

sufficient showing to prevail on a section 2255 motion.                      Id.

      Foster also argues that his attorney should have further

investigated mitigating factors that might be present.                     He points

to no mitigating factor that could have altered his sentence, and

he cannot, because he was subject to and received a statutory

mandatory    minimum   sentence.       Because       he     was    subject    to   the

statutory mandatory minimum sentence, even compelling mitigating

factors would not have altered his sentence.                  Accordingly, Foster

makes no showing of prejudice.         Id.

       Next, Foster contends that his counsel was ineffective in


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failing to seek and/or secure a plea agreement once the Government

had provided notice of its intent to seek an enhanced sentence,

under 21 U.S.C. section 851.        But Foster presents no evidence that

suggests that the Government would have been amenable to a plea

agreement at that point in time.

      Foster also claims that his counsel was ineffective in failing

to investigate Foster’s bad acts.            This claim appears to directly

overlap with his claim that counsel should have fully investigated

his criminal history so as to properly advise him of his minimum

mandatory sentence.      But, to the extent Foster intended something

else, the argument is undeveloped and the Court can not do his work

for him.    See Barnett, 174 F.3d at 1133.

      Lastly, Foster claims his counsel was ineffective for failing

to argue that his sentence over-represented his criminal history.

Again, Foster has not demonstrated any error on the part of counsel

or prejudice as a result of the alleged error, and his claim must

therefore be dismissed. Wiggins, 539 U.S. at 521-534.



Miscellaneous Matter

      Foster claims this Court should disregard the Government’s

response because it was not filed timely.             This Court’s records

reflect    that   both   the   Government’s     initial   response       and   the

response addressing the merits were filed timely.                    Accordingly,

Foster’s request is unfounded.



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CONCLUSION

      For the reasons set forth above, Petitioner’s Motion Under 28

U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence By A Person

in Federal Custody REMAINS UNDER ADVISEMENT.            This matter is set

for HEARING ON April 15, 2011, at 1:00 p.m.


DATED: February 9, 2011                     /S/RUDY LOZANO, Judge
                                            United States District Court




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